 

ie

 
 
 

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF INDIANA #0)
INDIANAPOLIS DIVISION

 

STEVEN ROBERT KOZLOWSKI,

PLAINTIFF, 1: 10-cy- 1538 RLY -TAB

 

 

V. CASE NO.
SUSAN M. KOZLOWSKI, JURY TRIAL REQUESTED
DEFENDANT.
COMPLAINT

COMES NOW Plaintiff, Steven Robert Kozlowski (“Steven”), by counsel, for his

Complaint against Defendant, Susan M. Kozlowski (“Susan”), states as follows:
Introduction

1. This matter involves an action by Plaintiff, the only son of the Decedent Robert
Kozlowski against Susan, the decedent’s second wife of five years. Plaintiff brings this action
against Susan, who after Robert was diagnosed with a terminal illness in 2005, began a
deliberate effort to circumvent her prenuptial agreement with Robert and tortiously interfere with
Plaintiff's inheritance. At the time of Robert’s diagnosis, Susan was bound by a prenuptial
agreement and was also aware that Robert’s $11,000,000 estate was intended for Plaintiff. Susan
abused her position of confidence with Robert while he was in a diminished state of mental
capacity through his illness, treatment and medication and intentionally interfered with Robert’s

lifelong plan to bequest his $1 1,000,000 estate to his only son, Steven.

 
 

 

 

Jurisdiction and Venue

2. This Court has jurisdiction over this cause of action because diversity of
citizenship of the parties exists pursuant to 28 U.S.C. § 1332. The amount in controversy,
exclusive of fees and costs, exceeds the jurisdictional amount of $75,000.00.

3. The Defendant resides in the Southern District of Indiana. Therefore, venue is
proper in this Court pursuant to 28 U.S.C. § 1391 (a)(1).

Parties

4, Plaintiff Steven is the natural son of Robert and is domiciled in Miami-Dade
County, Florida. Plaintiff is the only child of Robert.

5. Susan is the second wife of Robert and is currently the personal representative of
Robert’s estate. Susan is domiciled in Boone County, Indiana.

Factual Background

6. Plaintiff Steven brings this action against Defendant Susan, the second wife of his
late father, Robert C. Kozlowski (hereinafter “Robert”) because Susan tortiously interfered with
Steven’s inheritance from his father.

7. Robert was born on October 11, 1947 in Norwich, Connecticut to Chester
Kozlowski and Theresa Kozlowski. Robert had a sister Jean Kozlowski-Desrosiers that is 10
years younger than him.

8. In 1968, Robert married Carolle Denis, and Steven is the only child of that
marriage. Steven was born in 1969 and is the only child of Robert.

9. Steven enjoyed a close relationship with his father and had, throughout his life,

been the natural object of his affection and benevolence.

 

 
 

 

 

10. Throughout his young life, Robert asked plaintiff to make sacrifices for the

benefit of Robert’s career, including moving from Connecticut to upstate NY at age 10 and start
over again at age 14 moving from NY to Indiana.

11. In 1993, Robert and Carolle divorced after being married for 23 years. Steven
maintained a close relationship with his father through his parents’ separation and divorce.
Steven became closer with Robert after the divorce despite the challenges of being an only child
of divorced parents.

12. Between 1992 and 2000, Robert lived with Lynn Slone in Kendallville, Indiana.
Robert and Lynn were in a loving and caring long term relationship. Robert and Lynn were
never married as Robert believed in keeping their assets separate.

13. Robert believed in keeping their assets separate because he felt that his success
was built upon the sacrifices he and his family had made.

14. Over the years Steven became close with Lynn and her daughter Jenny Slone
(“Jenny”). Jenny lived with Robert and Lynn during the entirety of Robert and Lynn’s
relationship. Jenny was a minor throughout that time.

15. In 1993, Plaintiff moved to Miami, Florida to attend law school. Plaintiff has
resided in Florida ever since and is a practicing business transactions attorney.

16. Robert would regularly visit his son Steven in Florida. Sometimes Robert would
visit alone sometimes with Lynn.

17. Since moving to Florida, Steven would regularly visit his father in Indiana and
Michigan where his father had a summer home.

18. In May of 2000, Lynn was diagnosed with liver cancer and Robert became her

caregiver. The diagnosis was sudden and unexpected.

 
 

 

 

19, Lynn passed away in August of 2000 while at hospice with Robert in their home
at Kendallville, IN.

20. Robert told Steven that Lynn’s death had a profound impact on him as he watched
her pass away.

21. Despite being in a long-term loving relationship with Lynn as well as being her
caregiver, Lynn’s estate went to her only daughter, Jenny. This was told to Steven by Robert
illustrating that the same would be true of him. Robert specifically told Steven on more than one
occasion that he was Robert’s sole heir and personal representative.

22. In November of 2000, Robert was in Connecticut visiting his mother and sister for
the Thanksgiving holiday.

23. Robert, his sister Jean and her husband, Eddy Desrosiers, were all at a lounge at
the Foxwoods Resort and Casino in Mashantucket, Connecticut. Robert’s sister Jean struck up a
conversation in the ladies room with a woman who was complaining about her internet date.
Jean jokingly stated “you should meet my brother, he’s good looking and he’s loaded.” The
woman Jean was speaking to was Defendant Susan.

34. Defendant Susan and her “internet date” joined Robert, Jean and Eddy upon Eddy
and Jean’s invitation. Susan positioned herself in order to introduce herself to Robert.

25, Prior to meeting Susan in 2000, Robert had already amassed substantially all of
his probate and non-probate assets.

26. Susan and Robert began communicating by email and in 2001 began a casual long
distance relationship.

27, In the summer of 2002, Susan relocated to Fort Wayne, Indiana where Robert had

moved after Lynn’s passing.

 

 
28. At that time, Susan was still involved in legal proceedings with her ex-husband
over financial issues. Susan’s battles with her ex-husband over money lasted from 1998-2004.

29. Prior to marrying Susan, Robert had a last will and testament that devised and
bequeathed substantially all of the probate assets to his only child, Steven (the “Valid Will”). A
copy of the Valid Will is attached hereto as Exhibit “A”.

30. ‘Plaintiff is also aware of a Will executed subsequent to the Will in Exhibit A,

which also appointed Plaintiff as personal representative and sole heir. Robert specifically

discussed this subsequent Will several times with Plaintiff between 2000 and 2006. Plaintiff

understood that a copy of the Will was in Robert’s records.

 

31. The Valid Will in Exhibit “A” also appointed Steven as personal representative of
his father’s probate estate.

32. Robert and Susan married on June 17, 2004 at a private ceremony in Arizona.
Steven was present at the wedding.

33. To preserve Robert’s testamentary intent that Steven—and not Susan—receives
substantially all of Robert’s assets upon his death, Robert and Defendant Susan jointly drafted
and executed a valid, enforceable Prenuptial agreement (the “Prenuptial Agreement’) prior to
their marriage. A copy of the Prenuptial Agreement is attached hereto as Exhibit “B”’.

34. The Prenuptial Agreement transferred substantially all of Robert’s non-probate
assets to Steven upon Robert’s death. See Ex. “BR”!

35, When Robert Kozlowski married Susan in 2004, his net worth was

$11,619,412.00 as listed in his Prenuptial Agreement.

 

* Under the prenuptial agreement, upon Robert’s death, Susan was to receive $50,000.00 per year for the rest of
her life.
36. Susan’s assets were so minimal that a schedule of same was not created for the
Prenuptial Agreement.

37. The content of the Prenuptial Agreement in Exhibit B is consistent with Robert’s
lifelong position on his assets going to his son.

Robert's Illnesses

38. In January of 2005, Robert was diagnosed with a rare form of Non-Hodgkin’s

 

Lymphoma. Prior to this diagnosis, Robert had never been diagnosed with a serious and
potentially terminal illness and appeared to be in good health.

39. Subsequent to diagnosis, Robert consulted with and sought opinions from various
medical facilities, including the Mayo Clinic in Minnesota.

40. Robert remained generally asymptomatic through 2005 and the general medical
advice was to delay chemotherapy or radiation treatment until absolutely necessary.

4], In 2006, Robert began experiencing symptoms from the Lymphoma including
Lymphedema, which is the localized collection of lymphatic fluid due to blockage. Robert
began experiencing Lymphedema in his legs as well as swelling in the groin area.

42. In 2006, Robert also began having bouts with Cellulitis, a bacterial infection
related to Lymphedema. Robert was hospitalized on more than one occasion for this infection.
Cellulitis, if untreated is life threatening for patients with Lymphoma.

43. In order to treat the now symptomatic lymphoma and resulting lymphadema,
Robert began radiation treatments at the Indiana University Cancer Center in Indianapolis,
Indiana. Among other treatments, Robert began receiving Rituxan treatments.

44, In April of 2007, Robert began feeling seriously ill after receiving radiation

therapy.
 

 

 

45. In particular, Robert began having trouble breathing. His condition worsened by
the end of April 2007. Robert was concerned that he would have to be hospitalized.

46.  Robert’s condition continued to worsen and his state-of-mind was compromised.
Shortly thereafter, Robert was hospitalized with severe pulmonary distress. At that time, Robert
was diagnosed with PCP Pneumonia, which is a life-threatening condition for individuals such as
Robert who suffered from a compromised immune system. Robert had been suffering from PCP
Pneumonia as early April 2007.

47. Further, Robert was also diagnosed with Pulmonary Fibrosis, which was caused
by a reaction to his prior Rituxan treatments prior to April 2007. The damage caused by the
fibrosis made Robert susceptible to PCP Pneumonia of which he became symptomatic starting in
April 2007.

48.  Asaresult of his pulmonary distress and the undiagnosed illness in April 2007,
Robert could not act independently and relied on Susan.

49. Susan was aware of and had knowledge of Robert’s weakened and susceptible
state of mind.

50. During this period of Robert’s declining health in late 2006 and early 2007, Susan
took control of Robert’s healthcare management and influenced other aspects of his life.

51. Robert became dependent on Susan for all facets of his medical care and
wellbeing. Susan was responsible for informing Steven of Robert’s medical condition of which
she deliberately minimized, including but not limited to informing Steven of the May 2007
emergency hospitalization. Susan also informed Steven that it was not necessary to visit during

the hospitalization and did not fully disclose to him of the serious stage of the Pneumonia.

 

 
 

 

 

52. Subsequent from his release from his first major hospitalization Robert was put on

an increased routine of daily medications. Even prior to this hospitalization, Robert was on daily
medications that affected his mental state, capacity and overall personality, including but not
limited to Predisone.

53. Robert’s illness continued to progress and his condition continued to deteriorate.
Between September and November 2008, Robert began a series of in-patient chemotherapy
treatments to prepare him for a stem-cell transplant.

54. In November 2008, Robert received a stem-cell transplant at the Indiana
University Cancer Center. The effect of the transplant was determined to be unsuccessful. This
caused Robert an increased amount of distress. Robert continued to suffer from the deteriorating
effects of the Lymphoma, Lymphedema and his other accumulating illnesses subsequent to the
stem-cell transplant.

95. In the summer of 2009, Robert’s condition began to cause pain and he began pain
management care with an oncology pain management specialist. The significant amounts of
medication given to Robert on a daily basis were then increased.

56. In August 2009, Robert entered into home hospice care at his home in Zionsville,
Indiana. Robert was heavily medicated and unable to care for himself. Robert’s mental and
physical condition continued to deteriorate. On October 15, 2009, Robert passed away days after

his 62" birthday.

 
 

 

 

Genesis of the 2007 Will

57. After his death, Robert’s purported last will and testament dated April 30, 2007
was probated in Boone Superior Court 1, Estate Docket: 06D01-0911-EU-131 (the “2007 Will”).
A copy of the 2007 Will is attached hereto as Exhibit “C”,

58. Upon information and belief, while Robert was seriously ill with Pulmonary
Fibrosis and PCP pneumonia, Susan attempted to circumvent the provisions of the Valid Will
and Prenuptial Agreement by directing the drafting of the 2007 Will. The existence of this 2007
Will was kept from Steven.

$9. On April 30, 2007, while seriously ill with Pulmonary Fibrosis and PCP
pneumonia in Indianapolis, Indiana, Robert purportedly signed” the 2007 Will in a heavily
medicated state. No videotape or audio recording was made of Robert's purported execution of
the 2007 Will.

60. At all times relevant herein, the witnesses listed in 2007 Will were in
Kendallville, Indiana while Robert was in Indianapolis, Indiana purportedly signing the 2007
Will as Robert was too ill to travel 3 % hours one way to Kendallville. The signature on the
2007 Will was verified by telephone.

61. The witnesses listed in the 2007 Will did not witness: (1) Robert sign the 2007
Will; (ii) acknowledge his signature in the 2007 Will; or (iii) someone else sign the 2007 Will in

Robert’s name at Robert’s direction and in Robert’s presence.

 

2 Steven does not admit to the authenticity of the Robert’s signature on the 2007 Will and reserves the right to
present expert testimony as to the potential forgery of same.

9

 

 
2007 Will Circumvented Robert’s Estate Plan by Diverting Control and Probate Assets to Susan
62. The 2007 Will made material changes to Robert’s lifelong estate plan.
63. The 2007 Will disinherited Steven and bequeathed all personalty and devised all
realty to Susan. This action was completely contrary to prior statements made to Plaintiff by
Robert.

64. The 2007 Will removed Steven as personal representative of Robert’s estate and

appointed Susan as the personal representative. This action was completely contrary to prior

statements made to Plaintiff by Robert.

65. If Susan could not serve as personal representative of Robert’s estate, the 2007
Will appointed Jessica Horwitz, Susan’s daughter who is unrelated to Robert, to serve as
personal representative.

66. In no event was Plaintiff Steven to serve as personal representative under the
2007 Will again, contrary to discussions Steven had with his father who appreciated his position
as an attorney.

Susan Wronegfully Converted Robert's Probate Assets into
Co-Tenancy Property _in an Attempt to Avoid Probate and any Potential Will Contest by Steven

67. Prior to Robert being diagnosed with his terminal illness, Robert held all his
assets solely in his name. None of Robert’s assets were held with Susan as joint tenants with
rights of survivorship, tenants by the entireties, or in any other type of co-tenancy relationship.

68. After Robert was diagnosed with his illness, Robert was in a weakened and
compromised state of mind due to his disease, daily regime of consuming heavy medications,

and his realization of impending death.

10

 
 

 

69, Susan, relying on Robert’s weakened and susceptible state of mind, concocted her

artifice to deprive Steven of his inheritance and prevent a potentially successful will contest from
depriving her of Robert’s assets.

70. Susan began adding her name as joint owner on Robert’s financial accounts.

71. Susan also attempted to convert Robert’s solely-owned assets into joint tenancy

with rights of survivorship property.

72. Susan also attempted to convert Robert’s solely-owned assets into tenancy by the
entirety property.
73. Susan transferred some of Robert’s assets to her children Jessica Horwitz and

Zachary Horwitz.

74, Susan may have transferred Robert’s assets into her own name or her own
accounts,
75. As part of her intentional manipulation of Robert’s weakened state of mind and

interference with Robert’s original testamentary wishes, Defendant Susan manipulated medical
information given to Steven and Robert’s relatives to minimize the progression of Robert’s
illness. Susan would then portray to Robert that his relatives were uncaring about his condition.

76. As part of her intentional manipulation of Robert’s weakened state of mind and
interference with Robert’s original testamentary wishes, Defendant Susan worked to isolate
Robert from his blood relatives. Susan even went so far as to convince Robert in his confused
state of mind that his sister Jean was drugging his mother, Theresa. Susan created and
manipulated hostility by Robert toward his relatives. Susan expressed this to Robert even though
Susan was aware that Robert’s mother suffered from dementia and Jean was her caregiver.

Susan convinced Robert in his lonely and frightened state of mind that his own mother didn’t

11

 
 

 

 

care about him. The purpose of these actions was to interject herself into Robert’s life as the sole

caring person.

77. Asa further example of Susan’s manipulation of her isolation of Robert from his
relatives, Susan would answer the phone and hang up on Robert’s sister Jean when she called.
Susan would then express to Robert how little Jean cared because she wasn’t calling.

78. Prior to Robert’s first serious effect of the lymphoma in 2007, Robert enjoyed a
close and loving relationship with all of his blood relatives, including his sister Jean and mother
Theresa.

79. As part of her intentional manipulation of Robert’s weakened state of mind and
interference with Robert’s original testamentary wishes, Defendant Susan attempted to isolate
Robert from Plaintiff Steven by manipulating information between Robert and Steven. After
Robert was diagnosed and became ill, Susan remained present for every conversation between
Steven and his father, whether by phone or in person.

80. As part of her intentional manipulation of Robert’s weakened state of mind and
interference with Robert’s original testamentary wishes, Defendant Susan forged Robert’s
signature on documents and drafted letters and other correspondence in his name, including but
not limited to emails.

81. As part of her intentional manipulation of Robert’s weakened state of mind and
interference with Robert’s original testamentary wishes, Defendant Susan directed the inter-
vivos transfers of Robert’s property to her name.

82. Prior to Plaintiff's forced opening of his father’s probate estate, Susan kept all

estate documents from Steven,

12

 
 

 

83. After Robert’s death, his estate was opened in the Boone County Superior Court,
Estate Docket 06D01-0911-EU-131, and the 2007 Will was probated. Pursuant to the terms of
the 2007 Will, Susan was appointed as personal representative.

84. Because Steven was entitled to the vast majority of Robert’s probate and non-
probate estate under the Valid Will and the Prenuptial Agreement, Steven filed a will contest in
the Boone County Superior Court, Estate Docket 06D01-0911-EU-131 in February 2010
challenging the 2007 Will.

85. In the Amended Personal Representative’s Inventory, Susan claims that the value
of Robert’s estate is only $470,135.47. A copy of the Amended Personal Representative’s
Inventory is attached hereto as Exhibit “D”.

86. Susan claims that the remaining $11 million of Robert’s assets were held in co-
tenancy (joint tenancy with rights of survivorship, tenancy by the entireties, etc.); therefore,
passed directly to her outside of probate because they are non-probate assets.

COUNT I- TORTIOUS INTERFERENCE WITH AN INHERITANCE

87. Plaintiff hereby incorporates by reference paragraphs 1-86 as if fully set forth
herein.

88. Plaintiff Steven had an expectation to be the beneficiary of his father’s estate.
This expectation was given to him from his father’s own statements and actions.

89. As previously described, Susan intentionally interfered with Plaintiff's
approximately $11 million inheritance from his father, Robert through her acts of fraud, undue

influence, manipulation and other intentional conduct.

13

 
 

 

90. Asa direct and proximate result of Susan’s intentional interference with Plaintiff
Steven’s inheritance, Robert’s estate plan was altered and Susan became the personal
representative under the 2007 Will as well as the illegitimate beneficiary of inter-vivos transfers
of Robert’s assets.

91. The will contest filed by Steven in Boone County Superior Court, Estate Docket
06D01-0911-EU-131 does not provide an adequate remedy for Steven because the probate court
may not have authority over Robert’s wrongfully converted co-tenancy assets.

92. Under Indiana law, a separate action for tortious interference with an inheritance
is proper if the victim’s will contest remedies are inadequate.

93. Because the disputed property is allegedly held as non-probate assets, a will
contest seeking the redistribution of probate assets fails to adequately compensate Steven.

94. Thus, Steven’s action for tortious interference with an inheritance is properly
before this Court.

COUNT U - TORTIOUS INTERFERENCE WITH A CONTRACT

95. Plaintiff hereby incorporates by reference paragraphs 1-86 as if fully set forth
herein.

96. The Prenuptial Agreement constitutes a valid and binding contract by and
between Robert and Defendant Susan.

97. Plaintiff Steven is a third party beneficiary under the Prenuptial Agreement and is
entitled to receive the benefits and remedies set forth therein.

98. Susan tortiously interfered with the Prenuptial Agreement to her benefit and to the

detriment of the Steven, the Prenuptial Agreement’s beneficiary.

14

 
 

 

 

COUNT Hil — PUNITIVE DAMAGES

99. Plaintiff hereby incorporates by reference paragraphs 1-98 as if fully set forth
herein.

100. | Susan’s willful and wanton actions demonstrate malice, aggravated or egregious
fraud and oppression, with a conscious disregard for the rights of other persons including
Plaintiff that has caused substantial harm, entitling Plaintiff to recover punitive damages from
Susan.

101. Punitive damages should be awarded in an amount to punish Susan and deter her
from committing similar conduct in the future.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff, Steven Robert Kozlowski, prays that the Court find in his

favor on all counts and order the following relief:

a. Order the Defendant to pay Plaintiff compensatory damages;
b. Order the Defendant to pay Plaintiff punitive damages;
c. Order the Defendant to pay Plaintiff pre- and post-judgment interest; and
d. Order all other monetary and/or equitable relief that the Court deems just and
proper.
DEMAND FOR JURY TRIAL

 

Plaintiff, Steven Robert Kozlowski, by counsel, respectfully requests a jury trial for all

issues deemed so triable.

15

 
 

 

Respectfully Submitted,

a

KL. LL
Mokrbl [fe

f (
Richard D. Hailey, Aftorkey No/75-49
RAMEY & HAILEY
9333 N. Meridian Street, Suite 105
Indianapolis, Indiana 46260
Telephone: (317) 582-0000
Facsimile: (317) 582-0080
Rich@RameyandHaileyLaw.com

| f)
lol La

Justin W- Levept6n, Attorney No. 25678-49
MEY & HAILEY
333 N. Meridian Street, Suite 105
Indianapolis, Indiana 46260
Telephone: (317) 582-0000
Facsimile: (317) 582-0080
Justin@RameyandHaileyLaw.com

  
 

 

Counsel for Steven Robert Kozlowski

16

 
